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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                 Southern District of New York
                                          (State)                                                                                     ☐ Check if this is an
Case number (if known):                                         Chapter    11                                                             amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/19
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Barneys New York, Inc.



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          575 Fifth Avenue

                                          Number            Street                                    Number         Street
                                          11th Floor

                                                                                                      P.O. Box

                                          New York, New York 10017
                                                                                                      City                         State      Zip Code


                                          City                             State     Zip Code         Location of principal assets, if different from
                                                                                                      principal place of business
                                          New York
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 https://www.barneys.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            Barneys New York, Inc.                                             Case number (if known)
           Name



                                              A. Check One:
7.   Describe debtor’s business
                                              ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                              ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                              ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                              ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                              ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                              ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                              ☒ None of the above

                                              B. Check all that apply:
                                              ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                              ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)
                                              ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              4481

8. Under which chapter of the                 Check One:
   Bankruptcy Code is the
   debtor filing?                             ☐ Chapter 7

                                              ☐ Chapter 9

                                              ☒ Chapter 11. Check all that apply:

                                                                ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                  insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                  4/01/22 and every 3 years after that).
                                                                ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                  debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                  of operations, cash-flow statement, and federal income tax return, or if all of these
                                                                  documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                ☐ A plan is being filed with this petition.

                                                                ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                  Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                              ☐ Chapter 12

9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes.        District                           When                      Case number
   within the last 8 years?                                                                      MM/DD/YYYY
     If more than 2 cases, attach a                  District                           When                      Case number
     separate list.                                                                              MM/DD/YYYY

10. Are any bankruptcy cases               ☐ No
    pending or being filed by a            ☒ Yes.                                                                 Relationship     Affiliate
                                                     Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                         District                                                     When
                                                                 Southern District of New York
     List all cases. If more than 1,                                                                                               08/06/2019
     attach a separate list.                        Case number, if known _______________________                                  MM / DD / YYYY

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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    Debtor           Barneys New York, Inc.                                                    Case number (if known)
              Name



    11. Why is the case filed in this          Check all that apply:
        district?
                                               ☒     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                     immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                     district.
                                               ☐     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have            ☒ No.
        possession of any real                 ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                              Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                          ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                                safety.
                                                                What is the hazard?

                                                          ☐     It needs to be physically secured or protected from the weather.

                                                          ☐     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                                attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                                assets or other options).
                                                          ☐     Other


                                                          Where is the property?
                                                                                                  Number           Street



                                                                                                  City                                    State        Zip Code



                                                          Is the property insured?
                                                          ☐ No

                                                          ☐ Yes.      Insurance agency

                                                                      Contact name
                                                                      Phone




                           Statistical and administrative information

    13. Debtor's estimation of               Check one:
        available funds
                                             ☒ Funds will be available for distribution to unsecured creditors.
                                             ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of                  ☐       1-49                        ☐      1,000-5,000                          ☐     25,001-50,000
        creditors1                           ☐       50-99                       ☒      5,001-10,000                         ☐     50,001-100,000
                                             ☐       100-199                     ☐      10,001-25,000                        ☐     More than 100,000
                                             ☐       200-999



    15. Estimated assets                     ☐       $0-$50,000                  ☐      $1,000,001-$10 million                ☐    $500,000,001-$1 billion
                                             ☐       $50,001-$100,000            ☐      $10,000,001-$50 million               ☐    $1,000,000,001-$10 billion
                                             ☐       $100,001-$500,000           ☐      $50,000,001-$100 million              ☐    $10,000,000,001-$50 billion
                                             ☐       $500,001-$1 million         ☒      $100,000,001-$500 million             ☐    More than $50 billion


1
       The estimated number of creditors and estimated amounts of assets, and liabilities, are being listed on a consolidated basis for all Debtor affiliates listed on
       Rider 1, attached hereto.

       Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor           Barneys New York, Inc.                                               Case number (if known)
          Name




16. Estimated liabilities            ☐       $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                     ☐       $50,001-$100,000             ☐    $10,000,001-$50 million                ☐   $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million          ☒    $100,000,001-$500 million              ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on               08/06/2019
                                                                   MM/ DD / YYYY


                                               /s/ Sandro Risi                                                    Sandro Risi
                                               Signature of authorized representative of debtor                Printed name

                                               Title    Authorized Signatory




18. Signature of attorney                      /s/ Joshua A. Sussberg                                         Date           08/06/2019
                                               Signature of attorney for debtor                                               MM/ DD/YYYY



                                               Joshua A. Sussberg, P.C.
                                               Printed name
                                               Kirkland & Ellis LLP
                                               Firm name
                                               601 Lexington Avenue
                                               Number               Street
                                               New York                                                               New York         10022
                                               City                                                                   State              ZIP Code

                                               (212) 446-4800                                                         joshua.sussberg@kirkland.com
                                               Contact phone                                                              Email address
                                               4216453                                             New York
                                               Bar number                                          State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the :
                Southern District of New York
                                         (State)                                                          ☐ Check if this is an
 Case number (if known):                                   Chapter    11                                      amended filing


                                               Rider 1
                Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition
in the United States Bankruptcy Court for the Southern District of New York for relief under chapter 11
of title 11 of the United States Code. The Debtors have moved for joint administration of these cases
under the case number assigned to the chapter 11 case of Barneys New York, Inc.


 Barneys New York, Inc.
 Barney’s, Inc.
 BNY Catering, Inc.
 BNY Licensing Corp.
 Barneys Asia Co. LLC




                                                                           Rider 1
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            Fill in this information to identify the case:

            Debtor name            Barneys New York, Inc.

            United States Bankruptcy Court for                                                                                                       ☐
            the:                                            Southern District of New York                                                                       Check if this is an
            Case number (If                                                                                                                                     amended filing
                                                                                                      (State)
            known):




          Official Form 204
          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                              12/15

          A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes.
          Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors,
          unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

                                                                                                                                                         Amount of claim
                                                                                                 Nature of claim                             If the claim is fully unsecured, fill in only
                                                                                                                                           unsecured claim amount. If claim is partially
                                                                                                  (for example,        Indicate if       secured, fill in total claim amount and deduction
                                                                                                   trade debts,         claim is            for value of collateral or setoff to calculate
    Name of creditor and complete mailing             Name, telephone number and email
                                                                                                   bank loans,        contingent,                          unsecured claim.
        address, including zip code                      address of creditor contact
                                                                                                   professional      unliquidated
                                                                                                  services, and      , or disputed                       1Deduction
                                                                                                                                         Total claim,
                                                                                                   government                                            for value of         Unsecured
                                                                                                                                          if partially
                                                                                                    contracts)                                           collateral or          Claim
                                                                                                                                            secured
                                                                                                                                                          setoff [1]

                                                     Attn: Jack Dushey
                                                     Jenel Management Corp.
1   Jenel Management                                 275 Madison Avenue (1100)                        Lease                                                                  $5,984,632
                                                     New York, NY 10016
                                                     (212) 889-6406
                                                     jd@jenel.net
                                                     Attn: Legal
                                                     609 Greenwich Street
                                                                                                      Trade
2   The Row LLC                                      New York, New York 10014 (646)                                                                                          $3,737,748
                                                                                                     Payable
                                                     358-3888
                                                     Jan.Kaplan@therow.com
                                                     Attn: Legal
                                                     538 Madison Avenue
                                                                                                      Trade
3   Celine Inc.                                      New York, NY 10022                                                                                                      $2,747,305
                                                                                                     Payable
                                                     (646) 346-7613
                                                     luc.ferriere@lvmhfashion.com
                                                     25 West 39th St.
                                                     New York, NY 10018
    Thor Equities
4                                                    United States                                    Lease                                                                  $2,228,976
    1-15 EAST OAK STREET, LLC
                                                     (212) 529-4175 Ext. 0000
                                                     jxenitelis@thorequities.com




                  1
                      The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.
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                                                                                                                                  Amount of claim
                                                                                Nature of claim                       If the claim is fully unsecured, fill in only
                                                                                                                    unsecured claim amount. If claim is partially
                                                                                 (for example,      Indicate if   secured, fill in total claim amount and deduction
                                                                                  trade debts,       claim is        for value of collateral or setoff to calculate
     Name of creditor and complete mailing   Name, telephone number and email
                                                                                  bank loans,      contingent,                      unsecured claim.
         address, including zip code            address of creditor contact
                                                                                  professional    unliquidated
                                                                                 services, and    , or disputed                   1Deduction
                                                                                                                  Total claim,
                                                                                  government                                      for value of        Unsecured
                                                                                                                   if partially
                                                                                   contracts)                                     collateral or         Claim
                                                                                                                     secured
                                                                                                                                   setoff [1]

                                             Attn: Legal
                                             50 Hartz Way
                                             Secaucus, NJ 07094                     Trade
5    Yves Saint Laurent America, Inc.                                                                                                                 $2,186,576
                                             (201) 553-6945                        Payable
                                             (201) 770-2921
                                             daniel.byrnes@kering.com
                                             Attn: Legal
                                             50 Hartz Way
                                                                                    Trade
6    Balenciaga America, Inc.                Secaucus, NJ 07094                                                                                       $2,139,845
                                                                                   Payable
                                             (212) 279-4440
                                             daniel.byrnes@kering.com
                                             Attn: Legal
                                             19 East 57th Street
                                                                                    Trade
7    Givenchy Corporation/LVMH               New York, NY 10022                                                                                       $1,944,171
                                                                                   Payable
                                             (212) 965-5582
                                             luc.ferriere@lvmhfashion.com
                                             Attn: Legal
                                             195 Broadway
                                                                                    Trade
8    Gucci                                   New York, NY 10007                                                                                       $1,797,504
                                                                                   Payable
                                             (201) 330-2738
                                             daniel.byrnes@kering.com
                                             Attn: Legal
                                             1600 Amphitheatre Parkway
                                                                                    Trade
9    Google Inc.                             Mountain View, CA 94043 (800)                                                                            $1,706,932
                                                                                   Payable
                                             467-1894
                                             jo.keri@google.com
                                             Attn: Legal
                                             609 West 52nd Street
                                                                                    Trade
10   Prada                                   New York, NY 10019                                                                                       $1,626,504
                                                                                   Payable
                                             (212) 307-9300
                                             Aimee.Nsang@prada.com
                                             Attn: Legal
                                             215 Park Avenue South
     Rakuten Marketing Formerly              2nd Floor                              Trade
11                                                                                                                                                    $1,584,130
     Linkshare Corp.                         New York, NY 10003                    Payable
                                             (646) 943-8294
                                             shannon.le@rakuten.com
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                                                                                                                                   Amount of claim
                                                                                 Nature of claim                       If the claim is fully unsecured, fill in only
                                                                                                                     unsecured claim amount. If claim is partially
                                                                                  (for example,      Indicate if   secured, fill in total claim amount and deduction
                                                                                   trade debts,       claim is        for value of collateral or setoff to calculate
     Name of creditor and complete mailing    Name, telephone number and email
                                                                                   bank loans,      contingent,                      unsecured claim.
         address, including zip code             address of creditor contact
                                                                                   professional    unliquidated
                                                                                  services, and    , or disputed                   1Deduction
                                                                                                                   Total claim,
                                                                                   government                                      for value of        Unsecured
                                                                                                                    if partially
                                                                                    contracts)                                     collateral or         Claim
                                                                                                                      secured
                                                                                                                                    setoff [1]

                                             Attn: Legal
                                             Dept. 3486
                                             24 E 64th St
                                                                                     Trade
12   GGR US LLC                              New York, NY 10065                                                                                        $1,461,149
                                                                                    Payable
                                             (212) 947-3333
                                             veronica.nanni@ggr-
                                             distribution.com
                                             Attn: Legal
                                             5 Rue Marignan                          Trade
13   Azzedine Alaia                                                                                                                                    $1,396,258
                                             75008 Paris, France                    Payable
                                             patricia.carry@alaia.fr
                                             220 W 19TH STREET
                                             11TH FLOOR
                                             New York, NY 10011                      Trade
14   Margiela USA, Inc                                                                                                                                 $1,370,604
                                             (646) 813-4124 Ext. 0000               Payable
                                             kenny_kalipershad@staffinternati
                                             onal.com
                                             Attn: Legal
                                             306 W. 38th Street
                                             Floor 14                                Trade
15   CL US Distribution Corporation                                                                                                                    $1,283,586
                                             New York, NY 10018-2927 (212)          Payable
                                             279-7365
                                             j.jiang@us.christianlouboutin.com
                                             568 BROADWAY
                                             SUITE # 301
                                             ATTN: A/R & CREDIT DPT.                 Trade
16   Moncler USA, Inc                                                                                                                                  $1,205,973
                                             New York, NY 10012                     Payable
                                             (347) 745-2873 Ext. 0000
                                             valentina.pretto@moncler.com
                                             Attn: Legal
                                             Division of Richemont North
                                             America
                                             10 East 52nd Street                     Trade
17   Chloe                                                                                                                                              $995,965
                                             3rd Floor                              Payable
                                             New York, NY 10022
                                             (917) 606-7031
                                             clemence.asaria@chloe.com
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                                                                                                                                  Amount of claim
                                                                                Nature of claim                       If the claim is fully unsecured, fill in only
                                                                                                                    unsecured claim amount. If claim is partially
                                                                                 (for example,      Indicate if   secured, fill in total claim amount and deduction
                                                                                  trade debts,       claim is        for value of collateral or setoff to calculate
     Name of creditor and complete mailing   Name, telephone number and email
                                                                                  bank loans,      contingent,                      unsecured claim.
         address, including zip code            address of creditor contact
                                                                                  professional    unliquidated
                                                                                 services, and    , or disputed                   1Deduction
                                                                                                                  Total claim,
                                                                                  government                                      for value of        Unsecured
                                                                                                                   if partially
                                                                                   contracts)                                     collateral or         Claim
                                                                                                                     secured
                                                                                                                                   setoff [1]

                                             Attn: Legal
                                             390 Madison Avenue
                                                                                    Trade
18   Shiseido Cosmetics                      New York. NY 10017                                                                                        $990,192
                                                                                   Payable
                                             (201) 651-3917
                                             jcohen@sac.shiseido.com
                                             PO BOX 847130
                                             Dallas, TX 75284-7130
     STOCKTON STREET PROPERTIES,             (952) 852-5200 Ext. 0000
19                                                                                  Lease                                                              $953,528
     INC.                                    Lori.Coleman@MadisonMarquette
                                             .com;
                                             kevin.pirozzoli@invesco.com
                                             730 FIFTH AVE, CROWN BLDG.,
                                             STE 1004
                                                                                    Trade
20   ISAIA CORP                              New York. NY 10019                                                                                        $942,977
                                                                                   Payable
                                             (212) 245-3733 Ext. 0000
                                             anthony.bozzi@isaia.it
                                             942 South Shady Grove Road
                                             Memphis, Tennessee 38120 (901)         Trade
21   FedEx                                                                                                                                             $929,944
                                             818-7500                              Payable
                                             christie.burns@fedex.com
                                             885 CENTENNIAL AVENUE
                                             Piscataway, NJ 08854
                                                                                    Trade
22   CHANEL                                  (732) 980-3845 Ext. 0000                                                                                  $877,516
                                                                                   Payable
                                             KAREN.ALBRECHT@CHANELUSA.C
                                             OM
                                             Attn: Legal
                                             598 Madison Ave FL 6
                                                                                    Trade
23   Loewe LLC                               New York, NY 10022                                                                                        $877,323
                                                                                   Payable
                                             (646) 346-7914
                                             luc.ferriere@lvmhfashion.com
                                             C/O TX911OU
                                             P.O.BOX 55950
                                                                                    Trade
24   CANADA GOOSE US, INC.                   Boston, MA 02205-5950 (416)                                                                               $870,103
                                                                                   Payable
                                             780-9850 Ext. 0000
                                             crenfrey@canadagoose.com

                                             660 MADISON AVENUE
                                                                                    Trade
25   ETOILLE 660 MADISON LLC                 New York, NY 10065                                                                                        $866,977
                                                                                   Payable
                                             tedh@jsrellc.com
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                                                                                                                                  Amount of claim
                                                                                Nature of claim                       If the claim is fully unsecured, fill in only
                                                                                                                    unsecured claim amount. If claim is partially
                                                                                 (for example,      Indicate if   secured, fill in total claim amount and deduction
                                                                                  trade debts,       claim is        for value of collateral or setoff to calculate
     Name of creditor and complete mailing   Name, telephone number and email
                                                                                  bank loans,      contingent,                      unsecured claim.
         address, including zip code            address of creditor contact
                                                                                  professional    unliquidated
                                                                                 services, and    , or disputed                   1Deduction
                                                                                                                  Total claim,
                                                                                  government                                      for value of        Unsecured
                                                                                                                   if partially
                                                                                   contracts)                                     collateral or         Claim
                                                                                                                     secured
                                                                                                                                   setoff [1]

                                             Attn: Legal
                                             48 Walker Street
                                                                                    Trade
26   Tribeca Design Studio LLC               New York, New York 10013 (212)                                                                            $854,691
                                                                                   Payable
                                             431-7713
                                             shira@nililotan.com
                                             Attn: Legal
                                             31 West 54th Street
                                                                                    Trade
27   Manolo Blahnik USA, LTD                 New York, New York 10019 (212)                                                                            $831,984
                                                                                   Payable
                                             582-5647
                                             Tony@manoloblahnikusa.com
                                             425 W 13TH ST., 3RD FL New York,
                                             NY 10014                               Trade
28   RAG & BONE                                                                                                                                        $823,234
                                             (212) 278-8214 Ext. 0000              Payable
                                             credit@rag-bone.com

                                             VIA PONZA, 4
                                                                                    Trade
29   OWENSCORP ITALIA SPA                    10121 TORINO (TO) ITALY                                                                                   $816,999
                                                                                   Payable
                                             luca.ruggeri@owenscorp.com


                                             PO BOX 780254
     THE BUILDING AT 575 FIFTH OFFICE
30                                           Philadelphia, PA 19178-0254            Lease                                                              $815,240
     OWNER LL
                                             MattP@575fifth.com
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    BARNEYS NEW YORK, INC.                                           )   Case No. 19-[_____] (CGM)
                                                                     )
                              Debtor.                                )
                                                                     )

                               LIST OF EQUITY SECURITY HOLDERS1

             Debtor                Equity Holders              Address of Equity Holder             Percentage of
                                                                                                    Equity Held
                                                                      The Galleries
                                                                Limitless Building No. 4,
    Barneys New York,           Istithmar Bentley                        Level 6
                                                                                                           8%
    Inc.                        Cayman Ltd.                         P.O. Box 17000
                                                              JebelAli, Dubai, United Arab
                                                                        Emirates
    Barneys New York,           Funds affiliated with         9130 West Sunset Boulevard
                                                                                                          20%
    Inc.                        Yucaipa Companies               Los Angeles, CA 90069
    Barneys New York,           Funds affiliated with          767 5th Avenue, 20th Floor
                                                                                                          72%
    Inc.                        Perry Capital LLC                New York, NY 10153




1
      This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
      Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case.
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                       )
 In re:                                                )   Chapter 11
                                                       )
 BARNEYS NEW YORK, INC.                                )   Case No. 19-[_____] (CGM)
                                                       )
                       Debtor.                         )
                                                       )

                         CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                  Shareholder                      Approximate Percentage of Shares Held

 Funds affiliated with Perry Capital LLC                                72%
 Funds affiliated with Yucaipa Companies                                20%
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    Fill in this information to identify the case and this filing:

   Debtor Name           Barneys New York, Inc.

   United States Bankruptcy Court for the:                                      Southern District of New York
                                                                                            (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐      Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐      Schedule H: Codebtors (Official Form 206H)
      ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐      Amended Schedule
      ☒      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
             (Official Form 204)
      ☒      Other document that requires a declaration                     List of Equity Security Holders, Corporate Ownership
             Statement

          I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                   /s/ Sandro Risi
                                       08/06/2019
                                       MM/ DD/YYYY                                Signature of individual signing on behalf of debtor
                                                                                  Sandro Risi
                                                                                  Printed name
                                                                                  Authorized Signatory
                                                                                  Position or relationship to debtor

Official Form 202               Declaration Under Penalty of Perjury for Non-Individual Debtors
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                      UNANIMOUS OMNIBUS WRITTEN CONSENT

                                          August 5, 2019

        The undersigned, being the board of directors and members, as applicable (each, the
“Governing Body”), of Barneys New York, Inc. (“Barneys,”) and its subsidiaries Barney’s, Inc.,
BNY Catering, Inc., BNY Licensing Corp., and Barneys Asia Co. LLC (each, a “Subsidiary”,
collectively, the “Subsidiaries” and together with Barneys, the “Company”) hereby take the
following actions and adopt the following resolutions, pursuant to, as applicable, the bylaws,
limited liability company agreement, or similar document (in each case as amended or amended
and restated to date) of Barneys and each Subsidiary and the laws of the state of formation of
Barneys and each Subsidiary as set forth next to Barneys’ and each Subsidiary’s name on the
attachments hereto:

       WHEREAS, each Governing Body considered presentations by management
(the “Management”) and the financial and legal advisors (collectively, the “Advisors”) of the
Company regarding the liabilities and liquidity situation of the Company, the strategic alternatives
available to Barneys and each Subsidiary, and the effect of the foregoing on such entity’s
businesses;

        WHEREAS, each Governing Body discussed the foregoing with Management and the
Advisors of the Company and each Governing Body has fully considered each of the strategic
alternatives available to Barneys and each Subsidiary and has determined, in the judgment of each
Governing Body, that the following resolutions are in the best interests of Barneys and each
Subsidiary and their respective creditors;

       NOW, THEREFORE, BE IT:

       CHAPTER 11 FILING

        RESOLVED, that in the judgment of each Governing Body, it is desirable and in the best
interests of Barneys and each Subsidiary, its creditors, and other parties in interest, that each such
entity shall be and hereby is authorized to file or cause to be filed a voluntary petition for relief
(such voluntary petition and the voluntary petitions to be filed, collectively, the “Chapter 11
Cases”) under the provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–
1532 in the United States Bankruptcy Court for the Southern District of New York
(the “Bankruptcy Court”) or other court of competent jurisdiction.

        RESOLVED, that the Chief Executive Officer, Chief Financial Officer, Chief Operating
Officer, General Counsel, Secretary, any Executive Vice President, any Senior Vice President, any
Vice President, or any other duly appointed officer of each Subsidiary (each, an
“Authorized Signatory”), acting alone or with one or more other Authorized Signatory be, and
each of them hereby is, authorized, empowered, and directed to execute and file on behalf of the
Company all petitions, schedules, lists, and other motions, pleadings, papers, or documents
(including the filing of financing statements), and to take any and all action that they deem
necessary, appropriate, or desirable to obtain such relief, including, without limitation, any action
necessary, appropriate, or desirable to maintain the ordinary course operation of the Company’s
business.
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       RETENTION OF PROFESSIONALS

        RESOLVED, that each Authorized Signatory be, and hereby is, authorized, empowered
and directed to employ the law firm of Kirkland & Ellis LLP, as the Company’s counsel, to
represent and assist Barneys and each Subsidiary in carrying out its duties under the Bankruptcy
Code and to take any and all actions to advance the Company’s rights and remedies, including
filing any pleadings and conducting any potential sale process on behalf of the Company; and, in
connection therewith, each Authorized Signatory, with power of delegation, is hereby authorized,
empowered and directed to execute appropriate retention agreements, pay appropriate retainers,
and to cause to be filed an appropriate application for authority to retain Kirkland & Ellis LLP in
accordance with applicable law.

        RESOLVED, that each Authorized Signatory be, and hereby is, authorized, empowered
and direct to employ the law firm of Katten Muchin Rosenman LLP, as conflict’s counsel, to
represent and assist Barneys and each Subsidiary in carrying out its duties under the Bankruptcy
Code and to take any and all actions to advance the Company’s rights and remedies, including
filing any pleadings and conducting any potential sale process on behalf of the Company; and, in
connection therewith, each Authorized Signatory, with power of delegation, is hereby authorized,
empowered and directed to execute appropriate retention agreements, pay appropriate retainers,
and to cause to be filed an appropriate application for authority to retain Katten Muchin
Rosenman LLP in accordance with applicable law.

       RESOLVED, that each Authorized Signatory be, and hereby is, authorized, empowered
and directed to employ the firm of M-III Partners, LP, as the Company’s financial advisors, to
represent and assist Barneys and each Subsidiary in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance the Company’s rights and remedies; and, in
connection therewith, each Authorized Signatory is, with power of delegation, hereby authorized,
empowered and directed to execute appropriate retention agreements, pay appropriate retainers,
and to cause to be filed an appropriate application for authority to retain M-III Partners, LP in
accordance with applicable law.

        RESOLVED, that each Authorized Signatory be, and hereby is, authorized, empowered
and directed to employ the firm of Houlihan Lokey Capital, Inc., as the Company’s investment
banker, to represent and assist Barneys and each Subsidiary in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance the Company’s rights and remedies;
and, in connection therewith, each Authorized Signatory is, with power of delegation, hereby
authorized, empowered and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed an appropriate application for authority to retain Houlihan Lokey
Capital, Inc. in accordance with applicable law.

        RESOLVED, that each Authorized Signatory be, and hereby is, authorized, empowered
and directed to employ the firm of Bankruptcy Management Solutions, Inc. d/b/a Stretto (“Stretto”)
as the Company’s notice, claims, and balloting agent and as administrative advisor, to represent
and assist Barneys and each Subsidiary in carrying out its duties under the Bankruptcy Code, and
to take any and all actions to advance the Company’s rights and remedies; and, in connection
therewith, each Authorized Signatory, with power of delegation, is hereby authorized, empowered
and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause

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to be filed an appropriate application for authority to retain Stretto in accordance with applicable
law.

       RESOLVED, that each Authorized Signatory be, and hereby is, authorized and directed to
employ one or more store closing consultants to represent and assist each Company in operating
“store closing” sales; and in connection therewith, each Authorized Signatory, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed appropriate applications for authority to retain the
services of such store closing consultants.

        RESOLVED, that each Authorized Signatory be, and hereby is, authorized, empowered
and directed to employ any other professionals to assist the Company in carrying out its duties
under the Bankruptcy Code; and, in connection therewith, each Authorized Signatory, with power
of delegation, is hereby authorized, empowered and directed to execute appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain the services of any other professionals as necessary, appropriate, or desirable,
including (without limitation) special counsel to the extent determined necessary, appropriate, or
desirable.

       RESOLVED, that each Authorized Signatory be, and hereby is, with power of delegation,
authorized, empowered, and directed to execute and file all petitions, schedules, motions, lists,
applications, pleadings, and other papers and, in connection therewith, to employ and retain legal
counsel, accountants, financial advisors, restructuring advisors, and other professionals and to take
and perform any and all further acts and deeds that each Authorized Signatory deem necessary,
appropriate, or desirable in connection with each Subsidiary’s chapter 11 case.

       APPOINTMENT OF CHIEF RESTRUCTURING OFFICER

      RESOLVED, that in accordance with their respective Organizational Documents, each
Governing Body hereby creates the office of Chief Restructuring Officer (“CRO”) at each
Company.

        RESOLVED, that Mr. Mohsin Meghji is appointed to the office of CRO of each Company,
to hold such office until the earlier of his resignation or removal by the respective Governing Body,
as a condition to the consensual use of Cash Collateral (as defined below).

       RESOLVED, that Mr. Meghji shall report to each Governing Body and shall serve at the
pleasure and direction of each Governing Body.

       CASH COLLATERAL AND DEBTOR-IN-POSSESSION FINANCING

       RESOLVED, that the Company will obtain benefits from the use of collateral, including
cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code
(the “Cash Collateral”), which is security for certain prepetition secured lenders (collectively,
the “Secured Lenders”) party to that certain Amended and Restated Revolving Credit and Term
Loan Facility Agreement, dated as of June 5, 2012, (as amended, restated, supplemented, or
otherwise modified from time to time prior to the Petition Date, the “Credit Agreement”) by and


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among Barney’s Inc., as borrower, Barneys, the lenders thereto, and Wells Fargo Bank, N.A., as
administrative agent.

        RESOLVED, that entry into that certain debtor-in-possession financing agreement
(together with all exhibits, schedules and annexes thereto, the “DIP Credit Agreement”) dated as
of, or about, the date hereof, by and among Barneys, Inc. as the “Borrower” and a debtor and
debtor-in-possession under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”), the lenders party thereto from time to time (the “DIP Lenders”), and the administrative
agent (the “DIP Agent”) (as defined in the DIP Credit Agreement) pursuant to which the Borrower
has requested that the DIP Lenders provide a debtor-in-possession term loan to the Borrower is
hereby approved in all respects.

        RESOLVED, that in connection with the DIP Credit Agreement and as a condition of same,
 entry into a store closing agency agreement (together with all exhibits, schedules and annexes
 thereto the “Agency Agreement”) by and among Barneys, Inc. and its subsidiaries, on the one
 hand, and certain store closing consultants, on the other hand, is hereby approved in all respects.

        RESOLVED, that the Borrower and each Subsidiary will obtain benefits from the DIP
 Credit Agreement and it is advisable and in the best interest of the Borrower and each Subsidiary
 to enter into the guaranty of the obligations of the Borrower under the DIP Credit Agreement and
 for the Borrower and each Subsidiary to enter into each other DIP Document and to perform its
 obligations thereunder, including granting security interests in all or substantially all of its assets.

        RESOLVED, that the form, terms and provisions of the DIP Credit Agreement and all of
 the other DIP Documents, and the transactions contemplated by the DIP Credit Agreement
 (including, without limitation, the borrowings thereunder) and the other DIP Documents, the
 transactions contemplated therein and the guaranties, liabilities, obligations, security interest
 granted and notes issued, if any, in connection therewith, be and hereby are authorized, adopted
 and approved.

         RESOLVED, that the Borrower and each Subsidiary’s execution and delivery of, and its
 performance of its obligations (including guarantees) in connection with the DIP Credit
 Agreement and the other DIP Documents, are hereby, in all respects, authorized and approved;
 and further resolved, that each of the Authorized Signatories (as defined below) is hereby
 authorized, empowered and directed to negotiate the terms of and to execute, deliver and perform
 the DIP Credit Agreement, the other DIP Documents and any and all other documents,
 certificates, instruments, agreements, intercreditor agreements, any amendment or any other
 modification required to consummate the transactions contemplated by the DIP Credit Agreement
 and the other DIP Documents in the name and on behalf of the Borrower and each Subsidiary, in
 the form approved, with such changes therein and modifications and amendments thereto as any
 of the Authorized Signatories may in his or her sole discretion approve, which approval shall be
 conclusively evidenced by his or her execution thereof. Such execution by any of the Authorized
 Signatories is hereby authorized to be by facsimile, engraved or printed as deemed necessary and
 preferable.

        RESOLVED, that each Authorized Signatory be, and hereby is, authorized, empowered
 and directed, and empowered in the name of, and on behalf of, the Borrower and each Subsidiary,

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 as debtor and debtor-in-possession, to take such actions as in his or her reasonable discretion to
 enter into the DIP Credit Agreement and the other DIP Documents and approval of the use of
 cash collateral and each of the DIP Credit Agreement and the other DIP Documents pursuant to
 a postpetition financing order in interim and final form, and any Authorized Signatory be, and
 hereby is, authorized, empowered, and directed to negotiate, execute, and deliver any and all
 agreements, instruments, or documents, by or on behalf of the Borrower and each Subsidiary,
 necessary to implement the postpetition financing, including providing for adequate protection to
 the Secured Lenders in accordance with section 363 of the Bankruptcy Code, as well as any
 additional or further agreements for entry into the DIP Credit Agreement and the other
 DIP Documents and the use of cash collateral in connection with the Borrower’s and each
 Subsidiary’s Chapter 11 Cases, which agreements may require the Borrower and each Subsidiary
 to grant adequate protection and liens to each of their Secured Lenders and each other agreement,
 instrument, or document to be executed and delivered in connection therewith, by or on behalf of
 the Borrower and each Subsidiary pursuant thereto or in connection therewith, all with such
 changes therein and additions thereto as any Authorized Signatory approves, such approval to be
 conclusively evidenced by the taking of such action or by the execution and delivery thereof.

       APPROVAL OF THE DIP DOCUMENTS

         RESOLVED, that (a) the form, terms and provisions of the DIP Credit Agreement and all
 other DIP Documents (as defined in the DIP Credit Agreement) to which the Borrower and any
 or all of the Subsidiaries are a party, (b) the grant of security interests in and pledges of all or
 substantially all of the assets now or hereafter owned by the Borrower and any or all of the
 Subsidiaries as collateral (including pledges of equity and personal property as collateral) under
 the DIP Documents and (c) the guaranty of obligations by the Borrower and any or all of the
 Subsidiaries under the DIP Documents, from which the Borrower and each Subsidiary will derive
 value, be and hereby are, authorized, adopted and approved, and (d) any Authorized Signatory or
 other officer of the Borrower and each Subsidiary is hereby authorized, empowered and directed,
 in the name of and on behalf of the Borrower and each Subsidiary, to take such actions and
 negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and cause the
 performance of, each of the transactions contemplated by the DIP Credit Agreement substantially
 in the form provided to each governing body, the DIP Documents and such other agreements,
 certificates, instruments, receipts, petitions, motions, or other papers or documents to which each
 Subsidiary is or will be a party or any order entered into in connection with the Chapter 11 Cases
 (collectively with the DIP Credit Agreement, the “Financing Documents”), incur and pay or cause
 to be paid all related fees and expenses, with such changes, additions, and modifications thereto
 as an Authorized Signatory executing the same shall approve.

       RESOLVED, that the Borrower and each Subsidiary, as debtor and debtor-in-possession
 under the Bankruptcy Code be, and hereby is, authorized, empowered and directed to incur any
 and all obligations and to undertake any and all related transactions on substantially the same
 terms as contemplated under the Financing Documents (collectively, the
 “Financing Transactions”), including granting liens on its assets to secure such obligations.

       RESOLVED, that the Authorized Signatories be, and they hereby are, authorized,
 empowered and directed in the name of, and on behalf of, the Borrower and each Subsidiary, as
 debtors and debtors-in-possession, to take such actions as in their discretion are determined to be

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 necessary, desirable, or appropriate to execute, deliver, and file: (a) the Financing Documents
 and such agreements, certificates, instruments, guaranties, notices, and any and all other
 documents, including, without limitation, any amendments, supplements, modifications,
 renewals, replacements, consolidations, substitutions, and extensions of any Financing
 Documents, necessary, desirable, or appropriate to facilitate the Financing Transactions; (b) all
 petitions, schedules, lists, and other motions, papers, or documents, which shall in their sole
 judgment be necessary, proper, or advisable, which determination shall be conclusively evidenced
 by his or her or their execution thereof; (c) such other instruments, certificates, notices,
 assignments, and documents as may be reasonably requested by the DIP Agent, and other parties
 in interest; and (d) such forms of deposit account control agreements, officer’s certificates, and
 compliance certificates as may be required by the Financing Documents.

        RESOLVED, that the Authorized Signatories be, and they hereby are, authorized,
 empowered and directed in the name of, and on behalf of, the Borrower and each Subsidiary to
 file or to authorize the DIP Agent to file any Uniform Commercial Code (“UCC”) financing
 statements, any other equivalent filings, any intellectual property or real estate filings and
 recordings, and any necessary assignments for security or other documents in the name of the
 Borrower and each Subsidiary that either DIP Agent deems necessary or convenient to perfect
 any lien or security interest granted under the Financing Documents, including any such UCC
 financing statement containing a generic description of collateral, such as “all assets,” “all
 property now or hereafter acquired,” and other similar descriptions of like import, and to execute
 and deliver, and to record or authorize the recording of, such mortgages and deeds of trust in
 respect of real property of the Borrower and each Subsidiary and such other filings in respect of
 intellectual and other property of the Borrower and each Subsidiary, in each case as the DIP Agent
 may reasonably request to perfect the security interests of the DIP Agent under the Financing
 Documents.

        RESOLVED, that the Authorized Signatories be, and they hereby are, authorized,
 empowered and directed in the name of, and on behalf of, the Borrower and each Subsidiary to
 take all such further actions, including, without limitation, to pay or approve the payment of all
 fees and expenses payable in connection with the Financing Transactions and all fees and
 expenses incurred by or on behalf of the Borrower and each Subsidiary in connection with the
 foregoing resolutions, in accordance with the terms of the Financing Documents, which shall in
 their reasonable business judgment be necessary, proper, or advisable to perform the Borrower’s
 and each Subsidiary’s obligations under or in connection with the Financing Documents or any
 of the Financing Transactions and to fully carry out the intent of the foregoing resolutions.

       RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized,
 empowered and directed in the name of, and on behalf of, the Borrower and each Subsidiary, to
 execute and deliver any amendments, supplements, modifications, renewals, replacements,
 consolidations, substitutions, and extensions of the postpetition financing or any of the Financing
 Documents or to do such other things which shall in their sole judgment be necessary, desirable,
 proper, or advisable to give effect to the foregoing resolutions, which determination shall be
 conclusively evidenced by his or her or their execution thereof.

      RESOLVED, that the sole member, general partner, managing member, equivalent
 manager, or any other Authorized Signatory, as applicable, are each authorized, empowered and

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 directed to take each of the actions described in these resolutions or any of the actions authorized
 by these resolutions.

       GENERAL

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each Authorized Signatory (and their designees and delegates) be, and
hereby is, authorized and empowered, in the name of and on behalf of the Company, to take or
cause to be taken any and all such other and further action, and to execute, acknowledge, deliver,
and file any and all such agreements, certificates, instruments, and other documents and to pay all
expenses, in each case as in such Authorized Signatory’s judgment, shall be necessary, appropriate,
or desirable in order to fully carry out the intent and accomplish the purposes of the Resolutions
adopted herein.

        RESOLVED, that each Governing Body has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing Resolutions, as may be required
by the organizational documents of Barneys and each Subsidiary, or hereby waives any right to
have received such notice.

       RESOLVED, that any and all acts, actions, and transactions relating to the matters
contemplated by the foregoing Resolutions done in the name of and on behalf of Barneys and each
Subsidiary, prior to the date of this consent on behalf of Barneys and each Subsidiary be, and are
hereby in all respects are approved, confirmed and ratified as the true acts and deeds of the
Company with the same force and effect as if each such act, transaction, agreement, or certificate
had been specifically authorized in advance by resolution of each Governing Body.

        RESOLVED, that each Authorized Signatory (and their designees and delegates) and each
other partner, member, or managing member of each direct subsidiary of each Subsidiary, be and
hereby is authorized and empowered to take all actions or to not take any action in the name of
and on behalf of each Subsidiary with respect to the transactions contemplated by these
Resolutions hereunder as the sole shareholder, partner, member, or managing member of each
direct subsidiary of each Subsidiary, in each case, as such Authorized Signatory shall deem
necessary, appropriate, or desirable in such Authorized Signatory’s reasonable business judgment
as may be necessary, appropriate, or desirable to effectuate the purposes of the transactions
contemplated herein.

        This unanimous omnibus written consent may be executed in as many counterparts as may
be required; all counterparts shall collectively constitute one and the same consent. The actions
taken by this consent shall have the same force and effect as if taken at a meeting of the Governing
Body of Barneys and each Subsidiary, pursuant to the limited liability company agreement or
operating agreement of Barneys and such Subsidiary, as applicable, and the laws of the state of
jurisdiction of formation for each such entity.


                                  *       *      *       *       *




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        IN WITNESS WHEREOF, the undersigned have executed this unanimous omnibus
written consent as of the date first written above.



                                     Name: Richard Perry
                                     Title: Director



                                     Name: Mark Lee
                                     Title: Director



                                     Name: Robert C. Beyer
                                     Title: Director



                                     Name: Stephanie Bond
                                     Title: Director



                                     Name: Martin L. Edelman
                                     Title: Director



                                     Name: Simon Harland
                                     Title: Director



                                     Name: Daniella Vitale
                                     Title: Director




                                     BEING ALL OF THE MEMBERS OF
                                     THE BOARD OF DIRECTORS OF THE
                                     COMPANIES LISTED ON ATTACHMENT A




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                                      Attachment A

  COMPANY                                                         JURISDICTION
  Barneys New York, Inc.                                             Delaware
  Barney’s, Inc.                                                    New York
  BNY Catering, Inc.                                                New York
  BNY Licensing Corp.                                                Delaware




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                                    Attachment B

  COMPANY                                                       JURISDICTION
  Barneys Asia Co. LLC                                              Delaware




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